 Case 1:17-cv-01289-CFC Document 44 Filed 02/20/20 Page 1 of 2 PageID #: 458




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


SHARON GOETZ, on behalf of the Civil Action No. 1:17-cv-01289-CFC
Cornerstone Pediatric Profit Sharing Plan and as
representative of a class of all other similarly
situated individual account retirement plans,

           Plaintiff,

v.

VOYA FINANCIAL, INC. and VOYA
RETIREMENT INSURANCE AND
ANNUITY COMPANY

           Defendants.

                           NOTICE OF CHANGE OF ADDRESS

       PLEASE TAKE NOTICE that Paul R. Wood of the law firm Franklin D. Azar &

Associates, P.C. has moved office locations. Paul R. Wood’s new address is 6161 South

Syracuse Way, Suite 200, Greenwood Village, CO 80111. The phone number and facsimile

number for Paul R. Wood will remain the same. Please update your records accordingly.



Date: February 20, 2020
                                             CHIMICLES SCHWARTZ KRINER &
                                             DONALDSON-SMITH LLP

                                             /s/ Robert J. Kriner, Jr.
                                             Robert J. Kriner, Jr. (DE No. 2546)
                                             CHIMICLES SCHWARTZ KRINER &
                                             DONALDSON-SMITH LLP
                                             2711 Centerville Road
                                             Wilmington, DE 19808
                                             (302) 656-2500

                                             Delaware Counsel for Plaintiff
Case 1:17-cv-01289-CFC Document 44 Filed 02/20/20 Page 2 of 2 PageID #: 459




                                    Paul R. Wood
                                    FRANKLIN D. AZAR & ASSOCIATES, P.C.
                                    6161 South Syracuse Way
                                    Suite 200
                                    Greenwood Village, CO 80111
                                    (303) 757-3300
                                    (720) 213-5131

                                    Counsel for Plaintiff
